

People v Carrigan (2022 NY Slip Op 06400)





People v Carrigan


2022 NY Slip Op 06400


Decided on November 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 10, 2022

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND MONTOUR, JJ. (Filed Nov. 10, 2022.) 


MOTION NO. (201/18) KA 15-00130.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMARK CARRIGAN, DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








